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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS                               2019 HAY 13        p
                                      AUSTIN DIVISION                                                                52
WC 1899 MCKINNEY AVENUE, LLC,
          Plaintiff/Counter-Defendant,                                                                         -
                                                                               CAUSE NO.:
-vs-                                                                         AU-17-CA-00687-SS

STK DALLAS, LLC, and THE ONE
GROUP HOSPITALITY, INC.,
          Defendants/Counter-Plaintiffs,

-vs-

WORLD CLASS CAPITAL GROUP, LLC,
NATIN PAUL, and SHEENA PAUL,
          Third-Party Defendants.

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         BE IT REMEMBERED on this day the Court reviewed the file in the above-styled cause,

and specifically WC 1899 McKinney Avenue, LLC, World Class Capital Group, LLC, and Natin

and Sheena Paul (collectively, World Class)'s Motion for Summary Judgment [#79], STK

Dallas, LLC and The One Group Hospitality, Inc. (collectively, STK)'s Response [#82] in

opposition, and World Class's Reply [#92] in support.' Having reviewed the documents, the

governing law, the arguments of counsel, and the file as a whole, the Court now enters the

following opinion and orders.

                                                 Background

         This dispute concerns a lease agreement between World Class and STK. STK is a

restaurant group that sought to open a restaurant in Dallas, Texas. Resp. [#82-1] Segal Deci.




         The Court grants the parties' related motions to file documents under seal. See STK Motion to Seal [#83];
         1




World Class Motion to Seal [#100].

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at   1   Towards that end, STK entered into discussions with World Class in 2014 regarding a

potential lease of retail space at 1899 McKinney Avenue (the Premises). Id.

I.        Lease Negotiations

          During the lease negotiations, STK discovered the Premises lacked onsite parking and

expressed concern about its ability to secure nearby offsite parking for its planned restaurant.

Mot. Summ. J. [#79] at 106. In an attempt to allay these concerns, World Class undertook a

search for offsite parking in early 2015. Internal emails exchanged within World Class around

that time suggest World Class had considered eight possible parking lots in the vicinity, of which

four were unavailable. Mot. Seal [#83-11 Ex. A at 2-6. World Class concluded the other four lots

were likely only available on a month-to-month basis "if they are available at all." Id.

          By May 2015, neither party had identified a parking solution, and on May 17, 2015, STK

proposed "add[ing] a contingency [to the proposed lease agreement] for finding acceptable

offsite parking for intended use" because "[o]perations has not had a chance to secure a lot."

Segal Deci. at 8-9. World Class responded that there was "plenty of parking nearby in garages

and surface lots" and assured STK that it would "help in any way as needed." Id. But World

Class resisted adding a parking contingency to the Lease Agreement on the ground that the

addition of another contingency would "throw a monkey wrench in execution." Id. STK

ultimately conceded and informed World Class that it was "okay forgoing a parking

contingency" but asked World Class to provide information on "the company that provided

parking services for the previous tenant." Segal Decl. at 12.




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              In the interest of consistency, all page number citations refer to CMIECF pagination.

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II.      The Lease Agreement

         The Lease Agreement and a corresponding Guaranty Agreement were executed by the

parties on June 5, 2015, and several of their provisions are relevant here. Mot. Summ. J. [#79]

Ex. 2-A (Lease Agreement) at 62; Am. Compi. [#14] at 52-53 (Guaranty Agreement).

         First, the Lease Agreement contains an "as-is" clause specifying that the Premises were

to be leased "as-is" and without reliance upon any warranty as to the fitness of the Premises for

any particular purpose. Lease Agreement            §   3.1. The "as-is" clause does, however, require World

Class to deliver the Premises to STK "in compliance with" all local codes and regulations. Id.

         Second, the Lease Agreement contains a parking disclaimer clause. Lease Agreement

§   3.2. Under the terms of that clause, STK acknowledged and agreed that the Premises "may not

contain sufficient parking" for the Premises's intended use. Id. In turn, World Class agreed "at

the request of [STK] but at no cost to [World Class], to assist [STK] in identifying and locating

offsite parking." Id.

         Third, the Lease Agreement contains a provision establishing a contingency period.

Under the terms of that provision, if the Premises were unable to be operated for their intended

use because STK cannot "obtain the necessary permits" despite using "commercially reasonable

best efforts," STK could terminate the Lease Agreement so long as STK provided written notice

on or before August 3,2015. Lease Agreement               § 2.2(u).3

         Fourth and finally, the Lease Agreement contains provisions affecting the timing of

STK's rent obligations. Under Lease Agreement                 §   1.1(i), the Rent Commencement Date falls on

the earlier of (i) the date on which STK opened its restaurant to the public, or (ii) February 1,



           Cf Mot. Summ. J. [#79] Ex. 3 (Natin Paul Decl.) at 106 ("[T]he parties specifically negotiated a provision
regarding the right of STK and The One Group to investigate whether there was appropriate parking[,] . . . even
though Mr. Segal represented to me that he believed that he had already obtained sufficient parking prior to finalize
[sic] the Lease.").

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2016, "subject to extension as provided for in Section 28.18." In turn, Lease Agreement                           §   28.18

provides the Rent Commencement Date "shall be extended by one day for each such day of

delay" caused by a "Force Majeure Event." The Lease Agreement defines a "Force Majeure

Event" as "any delay[] due to strikes, riots, acts of God, shortages of labor or materials, war,

governmental laws, regulations or restrictions or any other causes of any kind whatsoever which

are beyond the reasonable control of such party." Id.              §   28.6.

III.     Parking Problems

         After the parties signed the Lease Agreement, subsequent attempts to locate offsite

parking failed.       See   Segal Decl. at 2 ("In July 2015, One Group retained Lone Star, a parking

consulting company, to assist in securing the deeded parking spaces needed for operation of a

restaurant.    . .   [but] [n]either One Group nor its consultants were ever able to secure the required

number of deeded parking spaces under Dallas' local codes and regulations                        . . .   ."). Yet, in spite

of the obvious obstacle the parking situation posed to opening a restaurant, STK failed to provide

written notice within the contingency period of intent to terminate the Lease Agreement.                               See


Segal Decl. at 3. STK also failed to pay its rent, and in March 2016, STK received a letter from

World Class demanding that STK begin paying rent due under the terms of the Lease

Agreement. Id. STK Group then made two rent payments to World Class "in the hopes that the

needed parking would be found." Id.

         The needed parking was not found. In April 2016, STK informed World Class it was

"unable to get car parking," that it had not received any substantial assistance from World                        Class,4


and that the City of Dallas (the City) was unwilling to grant STK a parking variance. Segal Decl.


         '
           Cf Segal Decl. Ex. E at 17 (Sheena Paul: "We have been working with local counsel. . . to prepare for
the parking variance we will need. . . . I think it will be best for us to coordinate efforts on parking; . . . most of the
application will need to be spearheaded by STK but will be supported and reinforced by Landlord.").
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at 3. As a result   of these obstacles, STK concluded it could not proceed with the restaurant and

ceased making rent payments to World Class. Id.

       Around the same time, STK learned a prior lessee had encountered similar parking

problems and had applied for a parking variance from the City. Id. at 3-4. In conjunction with

the parking variance application, the prior owner of 1899 McKinney Avenue had written a letter

to the City asserting the owner had "tried in vain" to secure an offsite parking agreement but had

been unable to do so. Segal Dccl. at 4. Despite this entreaty, the City had denied the variance

application in January 2014. Id.

       In October 2016, World Class and STK arranged an in-person meeting to discuss how to

proceed. Segal Decl. at 4. STK alleges the parties agreed at this meeting that if they were unable

to secure parking or a variance for operation of the restaurant, the parties would cancel the Lease

Agreement and "walk[] away with no claim on the other." Id.

IV.    Procedural Posture

       Notwithstanding the parties' alleged agreement to cancel the Lease Agreement if parking

could not be found, World Class filed suit in May 2017 alleging breach of contract. Notice

Removal [#1-1] Ex. A (Pet.) at 13-14. STK then removed the action to this Court on the basis of

diversity jurisdiction and filed counterclaims alleging fraud in the inducement, fraudulent

concealment, negligent misrepresentation, and breach of contract. Not. Removal [#1] at 2-3;

Countercls. [#21] at 10-15. World Class responded by asserting a fraud claim against STK

alleging STK had misrepresented its "attention to detail" and financial condition when, in reality,

it "could not meet the obligations under the Lease.    . .   [and] Guaranty." [#48] at 14-15. World

Class now moves for summary judgment on its breach of contract claims as well as on STK's




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affirmative defenses and counterclaims. Mot. Summ. J. [#79]. This pending motion is ripe for

review.

                                             Analysis

I.        Legal Standard

          Summary judgment shall be rendered when the pleadings, the discovery and disclosure

materials on file, and any affidavits show that there is no genuine dispute as to any material fact

and that the moving party is entitled to judgment as a matter of law.            FED. R. Civ. P.    56(a);

Celotex Corp.   v.   Catrett, 477 U.S. 317, 323-25 (1986); Washburn      v.   Harvey, 504 F.3d 505, 508

(5th Cir. 2007). A dispute regarding a material fact is "genuine" if the evidence is such that a

reasonable jury could return a verdict in favor of the nonmoving party. Anderson              v.   Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). When ruling on a motion for summary judgment, the

court is required to view all inferences drawn from the factual record in the light most favorable

to the nonmoving party. Matsushita Elec. Indus. Co.     v.   Zenith Radio, 475 U.S. 574, 587 (1986);

Washburn, 504 F.3d at 508. Further, a court "may not make credibility determinations or weigh

the evidence" in ruling on a motion for summary judgment. Reeves                v.   Sanderson Plumbing

Prods., Inc., 530 U.S. 133, 150 (2000); Anderson, 477 U.S. at 254-55.

          Once the moving party has made an initial showing that there is no evidence to support

the nonmoving party's case, the party opposing the motion must come forward with competent

summary judgment evidence of the existence of a genuine fact issue. Matsushita, 475 U.S. at

586. Mere conclusory allegations are not competent summary judgment evidence, and thus are

insufficient to defeat a motion for summary judgment. Turner        v.   Baylor Richardson Med. Ctr.,

476 F.3d 337, 343 (5th Cir. 2007). Unsubstantiated assertions, improbable inferences, and

unsupported speculation are not competent summary judgment evidence. Id. The party opposing
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summary judgment is required to identify specific evidence in the record and to articulate the

precise manner in which that evidence supports his claim. Adams        v.   Travelers Indem. Co. of

Conn., 465 F.3d 156, 164 (5th Cir. 2006). Rule 56 does not impose a duty on the court to "sift

through the record in search of evidence" to support the nonmovant's opposition to the motion

for summary judgment. Id.

       "Only disputes over facts that might affect the outcome of the suit under the governing

laws will properly preclude the entry of summary judgment." Anderson, 477 U.S. at 248.

Disputed fact issues that are "irrelevant and unnecessary" will not be considered by a court in

ruling on a summary judgment motion. Id. If the nonmoving party fails to make a showing

sufficient to establish the existence of an element essential to its case and on which it will bear

the burden of proof at trial, summary judgment must be granted. Celotex, 477 U.S. at 322-23.

II.    Application

       World Class contends it is entitled to summary judgment on its breach of contract claims

as well as STK's counterclaims and affirmative defenses. Mot. Summ. J. [#79] at 1. The Court

first considers the parties' breach of contract claims and counterclaims. It then turns to STK's

affirmative defenses and noncontractual counterclaims.

       A.      Breach of Contract

       In order to prevail on a breach of contract claim, the plaintiff must establish (1) a valid

contract existed; (2) the plaintiff performed or tendered performance; (3) the defendant breached

the contract; and (4) the plaintiff sustained damages as a result of the breach. Valero Mktg. &

Supply Co. v. Kalama Int'l, 51 S.W.3d 345, 351 (Tex.   App.Houston      [1st Dist.] 2001, no pet.).

       The parties raise four separate breach of contract claims: (1) World Class alleges STK

breached the Lease Agreement; (2) STK alleges World Class breached the Lease Agreement; (3)



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World Class alleges One Group breached the Guaranty Agreement; and (4) STK alleges World

Class breached a subsequent oral agreement that STK and World Class would cancel the Lease

Agreement if STK could not find parking. The Court examines each of these claims in turn.

                1.     Breach of Lease Agreement by STK

         World Class argues it is entitled to summary judgment on its claim that STK breached the

Lease Agreement. Mot. Summ. J. [#79] at 10-11. In response, STK argues summary judgment is

inappropriate because there is a genuine issue of material fact as to (1) whether a valid contract

exists; (2) whether World Class performed or tendered performance; (3) whether STK breached

the Lease Agreement; and (4) the amount of damages sustained by World Class. Resp. [#82] at

17-23.

                        a.     Existence of a Valid Contract

         First, STK argues there is a genuine issue of material fact as to whether a valid contract

exists because there is a factual question as to whether World Class fraudulently induced STK

Group to sign the Lease and Guaranty Agreements by reassuring STK that there was "plenty of

parking nearby in garages and surface lots." Resp. [#82] at 17-18. This argument misses the

mark because fraudulent inducement does not preclude formation of a valid contract. To the

contrary, fraudulent inducement "is a particular species of fraud that arises only in the context of

a contract and requires the existence of a contract as part of its proof." Haase    v.   Glazner,   62

S.W.3d 795, 798-99 (Tex. 2001).

         Second, STK argues there is a genuine issue of material fact as to whether a valid

contract exists because there is a factual question as to whether performance was impossible.

Resp. [#82] at 19. This argument also fails. Though impossibility can serve as an affirmative

defense to a breach of contract claim, STK does not explain whether or how impossibility



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prevents formation of a contract. See Resp. [#82] at 19 (arguing impossibility "relieves a party to

a contract of its duties" (emphasis added)). The Court therefore concludes STK has failed to

carry its burden of persuasion on this argument.

         Finally, STK argues there is a genuine issue of material fact as to whether a valid contract

exists because there is a factual question as to whether World Class failed to deliver the premises

"in compliance with all local codes and regulations            . . .   with respect to the permitted use." Resp.

[#82] at 17; Lease Agreement § 3.1. But this argument goes towards whether World Class

performed under the Lease           Agreementby delivering the premisesand has                      no bearing on

whether or not a valid contract existed in the first place. And in any event, STK fails to identify

any code or regulation as to which the Premises were noncompliant.                   See   Resp. [#82] at 17, 19-

20 (arguing that World Class must have failed to deliver the premises because "operation of a

restaurant    .   .   .   is impossible under applicable laws and regulations."). In light of these

deficiencies, the Court concludes that STK has failed to carry its burden of persuasion as to this

argument.5


                              b.     Performance

         In addition to arguing that World Class failed to perform by failing to deliver the

premises, STK also argues that World Class failed to perform by "failing to cooperate" with

STK's efforts to seek permits and failing to assist STK in identifying and locating offsite

parking. Resp. [#82] at 20; see also Lease Agreement at                 §   2.2(i), 3.2. But STK does not offer

            Even setting aside STK's failure to carry its burden of persuasion on this argument, the Court concludes
there is no genuine issue of material fact as to World Class's delivery of the premises to STK in compliance with
applicable local rules and regulations. STK suggests World Class did not deliver the premises in compliance with
local rules and regulations because the premises did not contain sufficient parking. See Resp. [#82] at 17, 19-20. But
STK has not identified any local rule or regulation requiring the premises to contain sufficient onsite parking, and
presumably for this reason, the Lease Agreement explicitly contemplated a search for offsite parking. Lease
Agreement § 3.2. Because there is no suggestion that local rules and regulations required onsite parking and because
the Lease Agreement did not require World Class to deliver offsite parking in conjunction with its delivery of the
premises, the Court concludes there is no genuine dispute that World Class did, in fact, perform by delivering the
premises under the terms of the Lease Agreement.
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any details as to how World Class failed to cooperate with STK's efforts to seek permits for its

restaurant. See Resp. [#82] at 20-21. What's more, STK acknowledges that World Class did

assist STK, at least to some degree, in its efforts to identify offsite parking. See Id. at 22

(conceding that World Class "provid[ed] a list of parking lots in the area).

       STK implies World Class should have gone to greater lengths to assist STK in its efforts

to find parking and alleges that World Class (1) failed to respond when STK asked for "any

information [World Class may have] on the company that provided parking services for the

previous tenant"; (2) was slow to respond to emails requesting assistance locating parking; (3)

"merely provid[ed] a list of parking lots in the area" when STK asked for assistance locating

parking in April 2016; and (4) failed to provide assistance when STK asked for additional help

locating parking in October 2016. See Resp. [#82] at 20-21. Yet the Lease Agreement does not

require World Class to use best efforts or even commercially reasonable efforts in assisting

STK's efforts to find parking. Compare Lease Agreement        §   3.2 (requiring World Class to "assist

in identifying and locating offsite parking" but "at no cost" to World Class), with Lease

Agreement   §   2.2(u) (requiring STK to use "commercially reasonable best efforts" to open and

operate its restaurant). Further, even if the Lease Agreement was interpreted to require best

efforts on the part of World Class, that requirement would be unenforceable because under Texas

law, best efforts provisions must "provide some kind of objective goal or guideline against which

performance is to be measured[.]" Kevin M Enringer Enters., Inc.         v.   McData Servs. Corp., 646

F.3d 321, 326-27 (5th Cir. 2011) (internal quotation marks omitted) (citing Herrman Holdings,

Ltd. v. Lucent. Techs., Inc., 302 F.3d 552 (5th Cir. 2002); CKB & Assocs. v. Moore McCormack

Petroleum, Inc., 809 S.W.2d 577 (Tex.    App.Dallas       1991, writ denied)). The Lease Agreement

contains no such guideline, see Lease Agreement       §   3.2, and absent any further argument from



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STK, the Court concludes there is no genuine dispute of material fact that World Class carried

out its obligation under the Lease Agreement to assist STK in its efforts to identify offsite

parking.

                      c.        Breach

        STK argues it did not breach the Lease Agreement by failing to pay rent because the

unavailability of offsite parking cOnstitutes a "Force Majeure Event" triggering an indefinite

postponement of the Rent Commencement Date. See Lease Agreement                 §§   1.1(i), 28.18. World

Class disagrees and argues the force majeure clause is only triggered by events that could not

have been anticipated by the parties. Reply [#92] at 15.

        The Lease Agreement defines a "Force Majeure Event" as "any delay[] due to strikes,

riots, acts of God, shortages of labor or materials, war, governmental laws, regulations or

restrictions or any other causes of any kind whatsoever which are beyond the reasonable control

of such party." Lease Agreement      §   28.6. The scope and effect of this force majeure clause

"depend[] on the specific contract language[] and not on any traditional definition of the term."

Va.   Power Energy Mktg.   v.   Apache Corp., 297 S.W.3d 397, 402 (Tex. App.Houston [14th

Dist.] 2009, pet. denied); see also Roland Oil Co.    v. R.R.   Comm 'n   of Tex., No. 03-12-00247-CV,
2015 Tex. App. LEXIS 1906, at *12_16 (Tex.      App.Austin 2015, pet. denied).
        The Court concludes a fact question exists as to whether the unavailability of offsite

parking constitutes a force majeure event forestalling STK's obligation to begin paying rent

under the Lease Agreement. STK was delayed in opening its restaurant because it could not

secure sufficient offsite parking to comply with local rules and regulations prescribed by the

City. Segal Decl. at 3. Thus, STK was arguably delayed by both a cause "beyond the reasonable

control" of    STKthe      unavailability of    parkingas well            as by "governmental laws,



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regulations[,] or restrictions" which prohibited STK from operating a restaurant without such

parking.   See   Lease Agreement   §   28.6.

       Though the unavailability of parking and the City's parking restrictions both satisfy the

requirement that Force Majeure Events be beyond the reasonable control of both parties, World

Class argues these circumstances nevertheless fall outside the scope of the clause because the

clause implicitly excludes occurrences or causes which the party might have reasonably

anticipated. Resp. [#82] at 15. To the extent the force majeure clause is ambiguous, World Class

might be able to establish at trial that such an implicit limitation exists. The text of the clause,

however, does not clearly and unambiguously require that Force Majeure Events be beyond the

reasonable anticipation of the party seeking to delay the Rent Commencement Date.         See   Lease

Agreement    §   28.6;   cf Roland Oil Co.,    2015 Tex. App. LEXIS 1906, at *12_16 (finding similar

force majeure clause to be unambiguous and "subject to only one reasonable interpretation[:]      .



any potential triggering event of the clause must be beyond the control of the party"). Thus, a

fact issue exists as to whether the force majeure clause encompasses events anticipated by the

parties and whether the unavailability of parking triggered the clause. This fact issue is material

because if the clause was triggered by STK's inability to locate parking, then STK's obligation to

pay rent never materialized and STK did not breach the Lease Agreement when it failed to pay

rent to World Class.

       In addition to arguing that STK breached the Lease Agreement by failing to pay rent,

World Class also contends STK breached the Lease Agreement by failing to use commercially

reasonable best efforts to open its restaurant and to avoid the placement of liens on the property.

Mot. Summ. J. [#79]. But World Class does not provide any further argument or evidence in

support of these contentions, and the Court concludes genuine issues of material fact exist as to



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whether STK used commercially reasonable best efforts to open its restaurant and as to whether

STK fulfilled its alleged obligation to avoid placement of liens on the property.

        In light        of the fact issues identified above, World Class is not entitled to summary

judgment on its breach of contract claim.

                             d.     Damages

        STK contends a fact issue exists as to damages because the damage calculations

submitted by World Class contain improper items and fail to include offsets to which STK is

entitled.   See   Resp. [#82] at 23 (alleging World Class "fail[ed] to account for the security deposit

and other good faith rent payments" and improperly included items beyond the Guaranteed

Minimum Rent in connection with damages claimed under the Guaranty Agreement). STK also

alleges World Class failed to use reasonable efforts to mitigate its damages because World

Class's "sole attempt to mitigate its damages" consisted of "posting a flyer for the property" on a

real estate website. Id. at 23; Segal Decl. at 4. Although World Class argues STK has failed to

adduce specific evidence creating a fact issue as to damages, the Court concludes a fact issue

exists as to whether World Class used reasonable efforts to mitigate its damages.

                   2.        Breach of Lease Agreement by World Class

        STK argues there is a genuine issue of material fact precluding summary judgment on its

breach of contract counterclaim because World Class failed to deliver the premises in

compliance with all local codes and regulations. Resp. [#82] at 25-26. As the Court has already

explained above, STK has failed to carry its burden of persuasion with respect to its argument

that World Class failed to deliver the premises.         See supra   Section II.A. l.a. Because STK does

not offer any further argument or evidence in support of its breach of contract counterclaim, the

Court grants World Class's motion for summary judgment as to that claim.



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               3.      Breach of Guaranty Agreement by STK

       To recover on a breach of guaranty claim, a plaintiff must establish (1) "the existence and

ownership of the guaranty contract"; (2) "the terms of the underlying contract by the holder"; (3)

"the occurrence of the conditions upon which liability is based"; and (4) "the failure or refusal to

perform the promise by the guarantor." See, e.g., Lee       v.   Martin Marietta Materials Sw. Ltd., 141

S.W.3d 719, 720-21 (Tex.   App.San Antonio 2004, no pet.).
       World Class contends it is entitled to summary judgment on its claim that One Group

Hospitality breached the Guaranty Agreement. Mot. Summ. J. [#79] at 11. Yet because the Court

has concluded a genuine issue of material fact exists as to whether STK incurred an obligation to

pay rent under the Lease Agreement, a genuine issue of material fact also exists as to whether

One Group Hospitality breached the Guaranty Agreement by failing to provide World Class with

"full and prompt payment and performance" of STK's obligations under the Lease Agreement.

See Guaranty Agreement; see also Lee, 141 S.W.3d at 720-21 ("To recover on a guaranty

contract, a company must show      .   .   .   the occurrence of the conditions on which liability is

based[.]"

               4.     Breach of October 18, 2016 Oral Agreement

       STK contends World Class orally promised or agreed during an October 18, 2016

meeting that the parties would cancel the Lease Agreement and "walk[] away with no claim on

the other" if the parties were unable to secure parking or a variance allowing operation of a

restaurant on the Premises. Resp. [#82] at 26; see also Segal Decl. at 4. World Class argues it is

entitled to summary judgment on this breach of contract claim because the Lease Agreement and

Guaranty Agreement bar oral modification or termination of those agreements. Reply [#92] at




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16. World Class also argues it is entitled to summary judgment because the statute             of frauds

requires a promise or agreement about the lease of real estate to be in writing. Id.

       The Court concludes there is an issue of fact as to whether the Lease Agreement bars the

oral agreement at issue here. Under Lease Agreement      §   28.13, "no agreement shall be effective

to change, modify or terminate" the Lease Agreement unless in writing and signed by the party

against whom the change is asserted. Similarly, the Guaranty Agreement provides it "may not be

changed, modified, discharged or terminated orally or in any manner other than by an agreement

in writing signed by Guarantor and Landlord." Guaranty Agreement at 53. But STK does not

contend the alleged oral agreement is effective to terminate the Lease Agreement. Rather, STK

argues the parties entered into a predicate oral agreement to subsequently execute a termination

of the Lease Agreement.      See   Resp. [#82] at 26; Segal Decl. at 4. While that subsequent

termination of the Lease Agreement would have to be in writing to satisfy the contractual

provisions identified above, the explicit text of these provisions does not unambiguously

encompass the predicate oral agreement at issue here. To the extent these contractual provisions

are ambiguous, a genuine issue of material fact exists as to whether the Lease Agreement and

Guaranty Agreement bar enforcement of the oral agreement at issue here.

       Further, the Court concludes the statute of frauds does not entitle World Class to

summary judgment on this breach of contract claim. World Class argues the statute of frauds

bars STK from asserting an oral agreement modifying or cancelling the terms of the Lease

Agreement. Reply [#92] at 16. But because the statute of frauds is an affirmative defense, World

Class must plead it before asserting it as a basis for summary judgment.     FED.   R.   CIV. P.   8(c)(1).

Since World class has not done so,      see   World Class Answer [#53] at 7, World Class is not




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entitled to summary judgment on either Its unpleaded affirmative defense or STK's breach of

contract claim.

       B.         Affirmative Defenses

       STK asserts eight affirmative defenses: failure to mitigate damages, waiver, release,

estoppel, laches, unclean hands, failure to satisfy a condition precedent, and fraudulent

inducement. STK Answer [#15] at 7. World Class seeks summary judgment on all eight of these

affirmative defenses on the ground that STK cannot marshal any evidence in support of these

defenses. Mot. Summ. J. [#79] at 12. In its response, STK only addressed two of these

affirmative defenses: failure to mitigate damages and fraudulent inducement. See Resp. [#82] at

23-25. The Court therefore grants summary judgment in favor of World Class on STK's

unsupported affirmative defenses of waiver, release, estoppel, laches, unclean hands, and failure

to satisfy a condition precedent. With respect to STK's affirmative defense of failure to mitigate

damages, the Court concludes genuine issues of material fact preclude summary judgment at this

time. See supra Section II.A. 1.

       That leaves only STK' s affirmative defense of fraudulent inducement. In order to prevail

on a fraudulent inducement claim, a defendant must establish (1) the plaintiff made a material

representation that was false; (2) the plaintiff "knew the representation was false or made it

recklessly as a positive assertion without any knowledge of its truth"; (3) the defendant intended

to induce the plaintiff to act upon the representation; and (4) the plaintiff "actually and justifiably

relied upon the representation and suffered injury as a result." JPMorgan Chase Bank, NA.            v.


Orca Assets G.P., 546 S.W.3d 648, 654 (Tex. 2018) (internal quotation marks omitted).

       World Class contends it is entitled to summary judgment on this affirmative defense

because STK cannot establish it justifiably relied on a representation made by World Class



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regarding the availability of parking. Reply [#921 at 9-11. Specifically, World Class argues the

Lease Agreement contained an "as-is" clause that barred STK from relying on any prior

representation made by World Class. Mot. Summ. J. [#79] at 13-15. World Class also. argues

STK could not have justifiably relied on World Class's parking representations because the

Lease Agreement contains specific provisions explicitly acknowledging the potential

unavailability of parking. Reply [#92] at 9-11.

       The Court concludes genuine issues of material fact preclude summary judgment on

STK's affirmative defense of fraudulent inducement. As an initial matter, an "as-is" clause in a

contract does not bar a party from asserting it was fraudulently induced to enter into that

contract. See Prudential Ins. Co. of Am.   v.   Jefferson Assocs., 896 S.W.2d 156, 162 (Tex. 1995)

("A buyer is not bound by an agreement to purchase something 'as is' that he is induced to make

because of a fraudulent representation or concealment of information by the seller."). By

contrast, an explicit, unambiguous contractual provision directly contradicting an alleged

misrepresentation precludes a party from justifiably relying on that misrepresentation as a matter

of law. JPMorgan, 546 S.W.3d at 658 ("As Texas courts have repeatedly held, a party to a

written contract cannot justifiably rely on oral misrepresentations regarding the contract's

unambiguous terms." (cleaned up) (internal quotation marks and citations omitted)). Yet World

Class has not identified       a contractual       provision directly contradicting the alleged

misrepresentation relied on by STK. Compare Segal Decl. at 8 (assuring STK that there was

"plenty" of offsite parking nearby), with Lease Agreement       §   3.2 (acknowledging the Premises

did not contain sufficient onsite parking). The Court therefore concludes World Class has failed

to carry its burden of persuasion and denies summary judgment as to STK's affirmative defense

of fraudulent inducement.


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        C.       Remaining Counterclaims

        The Court has already addressed STK' s breach of contract counterclaims above. See

Section II.A.3-4. In addition to those breach of contract counterclaims, STK also asserts

counterclaims       for    fraudulent       inducement,         fraudulent    concealment,        and     negligent

misrepresentation. Countercls. [#21] at 10-13. World Class seeks summary judgment on each of

these counterclaims. Mot. Summ. J. [#79] at 11-16.

        First, World Class argues STK's fraud and negligent misrepresentation counterclaims are

barred by an economic loss rule. Mot. Summ. J. [#79] at 18-19. Economic loss                     rules6   operate to

bar parties from recovering purely economic losses based on negligence or strict liability.

Sharyland Water Supply Corp.         v.   City ofAlton, 354 S.W.3d 407, 415 (2011). But "[t]ort damages

are recoverable for a fraudulent inducement claim irrespective of whether the fraudulent

representations are later subsumed in a contract or whether the plaintiff only suffers an economic

loss related to the subject matter of the contract." Formosa Plastics Corp. USA v. Presidio

Eng'rs & Contractors, Inc., 960 S.W.2d 41, 47 (Tex. 1998). Thus, no economic loss rule applies

to STK's fraud claims. And while an economic loss rule does apply to bar STK from recovering

purely contractual economic losses such as benefit of the bargain damages, in this case, STK has

sought reliance damages distinguishable from its claimed contractual damages. See Resp. [#82]

at 18 ("[World Class's] representation resulted in substantial damages to STK Group in that it

incurred approximately $672,674 in attempting to build out the restaurant on the property."); id.

[#82-3] Siluk Decl. at 1; see also Sterling Chems., Inc. v. Texaco, Inc., 259 S.W.3d 793, 797

(Tex.   App.Houston         [1St Dist.] 2007, pet. denied) ("Under the economic loss rule, a                plaintiff

         6
            See Sharyland Water Supply Corp. v. City of Alton, 354 S.W.3d 407, 415 (2011) ("[The economic loss
rule] is something of a misnomer[J . . . as 'there is not one economic loss rule broadly applicable throughout the
field of torts, but rather several more limited rules that govern recovery of economic losses in selected areas of the
law." (quoting Vincent R. Johnson, The Boundary-Line Function of the Economic Loss Rule, 66 WASH. & LEE L.
REv. 523, 534-35 (2009))).

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may not bring a claim for negligent misrepresentation unless the plaintiff can establish that he

suffered an injury that is distinct, separate, and independent from the economic losses

recoverable under a breach of contract claim."). The economic loss rule therefore does not bar

STK from recovering on its negligent misrepresentation claim.

       Second, World Class argues STK's fraudulent concealment counterclaim fails as a matter

of law because World Class did not have a duty to disclose any information about parking. Reply

[#921 at 11-13. In order to prevail on a claim    of fraud based on concealment of a material fact,

the party asserting the claim must establish it was ignorant of the fact and lacked an equal

opportunity to discover the truth. Bradford v.   Vento,   48 S.W.3d 749, 754-55 (Tex. 2001).

       The Court agrees with World Class that STK did not have a duty to disclose information

related to the availability of parking because STK had an equal opportunity to discover the truth

about the availability of parking. Like World Class, STK had an opportunity before signing the

Lease Agreementand after signing the Lease Agreement but before expiration of the

Contingency   Periodto    contact nearby parking lots and assess the feasibility of locating offsite

parking. Similarly, although STK complains that World Class should have disclosed that a prior

owner of the property had been unable to secure offsite parking, STK might have discovered this

fact for itself by accessing publically available records. The Court therefore grants summary

judgment in favor of World Class on STK's fraudulent concealment claim on the ground that

World Class had no duty to disclose parking information STK had an equal opportunity to

discover.

       Third, World Class seeks summary judgment on STK's negligent misrepresentation

counterclaim on the ground that claim is barred by the statute of limitations. Mot. Summ. J. [#79]

at 17-18. World Class argues the statute of limitations has run because a cause of action accrues



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for statute of limitations purposes when the claimant suffers a pecuniary loss. Id. World Class

posits that STK must have suffered a pecuniary loss no later than August 3, 201 5the end of the

contingency periodbecause that is the date on which STK became irrevocably liable for rent.

Id. But, as explained above, a genuine issue of material fact exists as to whether the rent

commencement date was postponed by the contract's force majeure clause.     See supra   Section

II.A. 1 .c. Correspondingly, a fact issue exists as to the date on which STK first suffered a

pecuniary loss by incurring an obligation to pay rent. Because it is unclear when STK first

suffered a pecuniary loss, the Court concludes World Class has failed to carry its burden of

persuasion on this argument. The Court therefore denies World Class's Motion for summary

judgment as to this counterclaim.

                                         Conclusion

       Genuine issues of material fact preclude summary judgment on World Class's breach of

contract claims as well as on STK' s claim that World Class breached an October 18, 2016 oral

agreement to cancel the Lease Agreement if STK could not find parking. The Court also

concludes factual issues preclude summary judgment on STK's fraudulent inducement

counterclaimlaffirmative defense and negligent misrepresentation counterclaim as well as STK's

affirmative defense of failure to mitigate damages. But the Court grants summary judgment on

STK's affirmative defenses of waiver, release, estoppel, laches, unclean hands, and failure to

satisfy a condition precedent, on STK's fraudulent concealment counterclaim, and on STK's

claim that World Class breached the Lease Agreement.

       Accordingly,

              IT IS ORDERED that STK's Motion to Seal [#83] is GRANTED;




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       IT IS FURTHER ORDERED that World Class's Motion to Seal [#100] is

GRANTED;

       IT IS FURTHER ORDERED that World Class's Motion for Summary Judgment

[#79] is GRANTED IN PART and DENIED IN PART as described in this opinion; and

       IT IS FURTHER ORDERED that World Class's Motion to Strike [#103] is

DISMISSED AS MOOT because the evidence which World Class sought to strike did

not alter or affect the Court's disposition of World Class's summary judgment motion;

and

       IT IS FINALLY NOTED that the Court's rulings herein are without prejudice to

any potential evidentiary objections the parties may seek to raise at trial.


SIGNED this the 13 day of May 2019.


                                          SAM SPA
                                          SENIOR UNITED        STAES DISTRICT JUDGE




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